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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
                                                                :
ELLIOTT BROIDY and BROIDY CAPITAL                               :
MANAGEMENT, LLC,                                                :
                                                                :
                           Plaintiffs,                          :
                                                                :
                  - against -                                   :
                                                                :
GLOBAL RISK ADVISORS LLC,
                                                                :
GRA MAVEN LLC,                                                      Case No. 19-cv-11861-MKV
                                                                :
GRA QUANTUM LLC,
                                                                :
GLOBAL RISK ADVISORS EMEA LIMITED,
                                                                :
GRA RESEARCH LLC,
                                                                :
QRYPT, INC.,
                                                                :
KEVIN CHALKER,
                                                                :
DENIS MANDICH,
                                                                :
ANTONIO GARCIA, and
                                                                :
COURTNEY CHALKER,
                                                                :
                           Defendants.                          :
                                                                :
----------------------------------------------------------------x

                              DECLARATION OF BRIAN C. ASCHER

        I, Brian C. Ascher, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

        1.       I am a partner in the law firm Gibson, Dunn & Crutcher LLP (“Gibson Dunn”), and

I am admitted to practice law in the State of New York and the Southern District of New York. I

am one of the attorneys from Gibson Dunn who previously represented Defendants in this action.

As such, I am fully familiar with the facts and circumstances stated herein. I make this declaration

in response to Plaintiffs’ Motion for Sanctions (ECF 163).

        2.       On May 16, 2022, Plaintiffs’ counsel at Kasowitz Benson Torres LLP (“Kasowitz”)

contacted Gibson Dunn’s General Counsel regarding an unspecified “Potential motion” and
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requested a call. Attached hereto as Exhibit A is a true and correct copy of the email from Daniel

R. Benson at Kasowitz to Martin A. Hewett at Gibson Dunn dated May 16, 2022.

       3.      During the conversation between Kasowitz and Gibson Dunn on May 16, Kasowitz

stated they discovered new evidence in support of a motion for disqualification, which amounted

to a declaration from Rick Gates, a convicted liar with close financial ties to Mr. Broidy.

       4.      On June 27, 2022, Plaintiffs filed a pre-motion letter regarding their anticipated

motion for disqualification of Gibson Dunn as counsel for Defendants (ECF 131). Gibson Dunn

believed (as it does now) that the motion was fully without merit and was fully prepared to oppose

the motion.

       5.      On July 21, 2022, Defendant Global Risk Advisors’ CEO, Kevin Chalker,

requested for the first time that Gibson Dunn withdraw as counsel. Attached hereto as Exhibit B

is a true and correct copy of the July 21, 2022 email from Kevin Chalker to me, my partners Orin

Snyder and Zainab Ahmad, and Defendants’ new counsel at Hughes Hubbard & Reed LLP stating

that even a 1% chance of a potential disqualification was untenable because of unrelated business

considerations.

       6.      On August 1, 2022, Gibson Dunn withdrew as counsel at the direction of

Defendants.

       7.      Also on August 1, 2022, Kasowitz advised Gibson Dunn and Defendants that it

intended to file a pre-motion letter for sanctions and for leave to take discovery that day, and asked

for Gibson Dunn’s and Defendants’ consent by 5:00PM. Attached hereto as Exhibit C is a true

and correct copy of the August 1, 2022 email from Kasowitz to Gibson Dunn.



       I declare under penalty of perjury that the foregoing is true and correct.




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Dated: March 6, 2023
New York, New York.



                                    ________________
                                    Brian C. Ascher




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